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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS,
                                  EASTERN DIVISION

JOHN FULTON, et al.                           )
                                              )
                        Plaintiffs,           )      No.     05 C 1551
                                              )
       v.                                     )      Judge John W. Darrah
                                              )
DET. ZALATORIS, et al.,                       )      Magistrate Judge Nolan
                                              )
                        Defendants.           )


                                      JOINT STATUS REPORT

       NOW COME the parties, by and through their counsel, and submit the following status

report to the Court:

       1.      Plaintiffs have filed a four count civil rights complaint under §1983, for false

arrest, coercive interrogation, conspiracy and deprivation of the right to a fair trial, alleging

violation of their Fourth, Fifth and Fourteenth amendment rights, premised on their arrests and

alleged coercion of their confessions in a murder case in which the prosecution is ongoing.

Plaintiffs’ due process, false arrest and other constitutional claims will necessarily be presented

as part of the criminal proceedings.

       2.      On May 17, 2005, this Court entered an order staying all proceedings in this Court

because the state criminal prosecutions of plaintiffs are ongoing. See, e.g., Younger v. Harris,

401 U.S. 378, 91 S. Ct. 746 (1971); Simpson v. Rowan, 73 F.3d 134 (7th Cir. 1995).

       3.      When last before this Court for status on April 25, the parties reported that the

criminal matter was up for status on April 28, 2006, for status and that no trial date had been set.

Thereupon, this Court continued this matter for status to May 17, 2006, for scheduling for trial.
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        4.     On April 28, 2006, the trial court in the criminal proceedings made various

rulings and set the criminal matter for trial on June 12, 2006.

        5.     Because the underlying criminal proceedings remain ongoing and are judicial in

nature, the parties respectfully request that this Court continue the stay of this matter pending the

completion of the state criminal proceedings and set this matter for further status after June 12,

2006.

                                              Respectfully submitted,

Plaintiffs John Fulton, Anthony                       Defendants City of Chicago and
Mitchell and Antonio Shaw                             Detectives Zalatoris, Breen,
                                                      Struck, Girardi and Winstead




By:     _________________________             By:     _________________________
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Defendant Jacob Rubenstein




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